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                      GEORGE CLINTON, Efq. Governor.                                    a2
            per cent. on the whole (urn wlich (hall come into their hands by virtue of
            fuch appolntient, before each dividend "made, qver       and above all. neceffary
                                                                   ...
            d itbu rrem en ts Inth e premi s..li
                XXVIIl. 4,4d be it fin/her c/'a ed ly the audhority aforefaid, That any
            judge or judges, mayor or recorder, who have iffued any warrant or war.
            rants, in purflance and by virtue of any -a or ads againfl abfcnt, ablconding
            or concealed dbtors, may proceed thereon by virtue of this adi; and that
            truftees appointed by any of the laid ads, may exercilf all the powers given
            by this ad to fuch truifees, and Ihall    be fubjed to fuch rules, orders and r e-
            gulations, as in and by this ad are appointed.
                XXIX. da4d be it fiirtier eax.Ted by the authority aforcfaid, That if any
            perfon or perfons haill    be frted for any matter or thing done in purfuance or
            by virtue ofthis ad, it[hall and may be lawful for him, her or them, to plead
            the general the, and give the fpeclal matter Inevidence ; and allb that this
            aI fhall be beneficially conflrued for the creditors in all courts of record.
             within this flate.
                  IMC.              XXX. And whereas, by the firfl fclton of the ad, enti-
                    reir h.
                         i.      tied, t An ad to amend an act, entitled, An ad for relief.
             againft abfeonding and abifnt debtors, and to extend the remedy of the adt,
             entitled, An adt forgranting a more efedual relief in cafes of certain trefpaflfs,
             and for other purpofes therein mentioned, pailid May the 4 th, 1784, re-,
             medy was given to creditors agalnil debtors,Mdeignated in the faid firl fedion
             of the laid    ad, with authority to proceed againil fuch debtors in,manner as
             nearly as may be, .u Isprekribed and directed in and by an ad, entided, An
             ad for relief againfl abiconding and ablent debtors, palled 8d day of April,
              1775. And whereas the adt lai mentioned is expired by Its own limitasion;
             B i therefore cnaOedby     O the authorio afare/id, That all proceedings here
             afier to be had againlt fuch debtors as are particularly defcribrd in and by the
             aforefaid firfl fedion of the ad firfl aforvfaid, hall, as nearly as may be, b
             in the manner prefcribed and direded in and by this at.

                                        C H A P. XXV.
                   a e1.11,              .a A C T to regulai Paflikd
                                                               th, Mifitk.
                                                                     ,4th April, 1786.
             I.       E it ena'edby the people ofthelate ofAlu'-York, repreje:;ediaP.fnate,
                  B and aemi/,, audit is /iereb, inmaedl , the ithori o             e, That
                                                                               i .f.tflte
              Citizen, of 16 and every able-bodied male perfon, being a citizen of this Ijate,
             unde 41 year,     6r or of any ofthe United States, and reliding inthis flate (ex-
             . the  captain of tiecept fuch perfons as are herein after excepted) and who are
                                  of the age of fixteen, and under the age of forty-five years,
             (hall, bythe ciptain or commanding officer of the beat in which luhiclicitizens
             fliall relide, within four months after the paffing of thi's ai&, be enrolled in
             the company of fich beat. That every captain or coinmanding officer of
             a company, (hall alfo enrol every citizen as afordlaid, who fiball, from time
             to time, arrive at the age of fixteen years, or come to refide within his beat,
             and without delay notify fuch enrolment to fiuch citizen lb enrolled, by Ibme
             non-cominmiffioned officer of the company, who (ball be a competent wituel
             to prove fuch notice. That all dilputes which may happen with reft to
             the age or ability of any perfon to beararms, [hall     b.determined by t;e cap-
             tan or commnanding officer ofithe company, with a right ofappeal by vie
             p.:rfon who nay conceive himftlf aggrieved, or by -any othe' peri1:'a b)
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              a2 .       L A:WS orN EW-Y 0 R K, Nnth SLon.
              longing to the company, to the colonel or commanding officer oftheregf
                Mitla he,-t be ment. That every citizen fo enrolled and notified, Ihail,
              armuedad -outred.   within three months thereafter, provide himfelf, at his own
              expence, with a good mulket or firelock, a fufficient bayonet and belt, a
              pouch, with a box therein to contain not lefs than twenty-four. cartridges
              fired to the bore of his mufket or firelock, each cartridge'containing a pro.
              per quantity of powder and ball, two fpare flints, a blanket and knapfack ;
              and (hall appear fo armed, accoutered and provided, when called out to.
              exercilfe or duty, as herein after diredted, except that when called out to ex-
              crcife only, he may appear without blanket or knapfack. That the com-
              miffioned officers fhall be repeively armed with a fword or hanger, and an
              efpontoon. That the commander in chief for the time being fliall, by gene-
              ral orders, arrange the whole militia into commands, .as nearly equal as con-.
              venlently may be, of brigades, regiments and companies, and may, from,
              time to time, alter fuch arrangements as he fliall think proper; and that to,
              each brigade of infantry there fliall be one company of artillery, and'one
              troop otfhorfe. That each rcgihment of infantry (hall confill of two batta-
              lions, each battalion tobe compofid of four companies, andeach company of
                               One captain,                         Four corporals,
                               One lieutenant,                      One drummer,,
                               One en lign,                         One fifer,
                               Four feieants,
               serlea-,..       , And not lelS than fixty-five privates, as nearly as local cir-
              ,u      l%R, by¢I he". cumflance will admit. The ferjeants, corporals, drum-
                  ne411ll|udB.
              to lie
                    mp:24,,.         mers and fifers to be, from time to time, appointed by the
                                     captain or commanding officers of the feveral companies.
              And if any non-commillioned officer fo to be appointed, fhall refufe to
              accept the offlice to which he fhall be appointed, he (hall forfeit the fum
              of forty lbillings, to be adjudged, levied and difpotbd of as is herein af-
              ter direled, with refpea to fines for ncglefing or refuting to appear to
              exercife. That each regimcnt flhall be commanded by three field officers,
              viz. One lieutenant-colonel commandant, and two majors; andihat to
              each rcgiment there ball be a regimeutal flT,to confift of
                                            One adjutant,          1
                                            One Quartcr.maflcr, I, To rank as lieutenants.
                                            And one pay.mnafter, J
                                            One furgeon, and
                                            One furgeon's mate.
                   And that to each regiment there flall be two light-infantry companies,
              compofed of flich aaive young men as fhall voluntarily engage in fuch In-
              fantry companies, and who ffiall form on the flanks of the regiment, and be
              clothed in fuch uniform as is herein after dirctLd. That four regiments
              .thus conflituted, fball form a brigade, to be commanded by a brigadier.
              general, who may nominate his own brigade-major, which brigade-major
              (hall rank as captain.
                   That each troop of hore fnall confdit of
                                     One captair,               Four corporals,
                                     One captain-eutenant, One faddler,
                                     One licutenant,            One farrier,
                                     One cornet,                One trumpeter, and
                                     Vtour fi.retn's,             orty horfenicn,
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                      GE'C'.G                L IN TON;: fq. Governor.                     29
                *Eacb trooper:to furnifli himfelf with a ferviceable hore, at leaft fourteen.
              lands high,.a good faddle,.bridle, houfmg, holfters, breaft-plate and crupper,
              a.pair of boots and fpurs, a pair of piflols, a fabre, a cartouch-box to contain
              twelve cartridges for his piftols; and that the commiffloned officers fhall be
              armedwith.a tWord and pair of phlols, the holflers of which to be covered
              with bearikin caps.
                  That each company of artillery (hall confill of
                                   One captain,               Six gunners,
                                   One captain-lieutenant,. Six bombardiers,
                                   Three lieutenants,         One Drummer,
                                   Six ferjeants,             One fifer, and
                                   Six corporals,             Thirty-two matroffes.
                   Each commiftioned officer hall be armed with a fird or hanger, a futree,
              Iaybnet and belt, and cartridge box, to contain twelve cartridges, and each
              artilll (il furnif hitnfelf, at his own expence, with all the equipincnts,
              of a private in the infantry, until propcr ordinance and field artillery can be
              provided by the flate ; the drum and fife to be provided by the commiflioned
                 A          ,r.- officers of the company. That each company of artillery
               and M. fj'ioltr.: and troop of horlie Mhall be formed of volunteers from the
               a
                 , ..'. a L-f°"ditlricft of the brigade, within which they refide, and hall
                                   be uniformly clothed in regimentals, to be fumified at their
               own expence, the colour and faihion of which to be determined by the bri-
              gadier commanding the brigade. That on every enlifiment of a volunteer
              Into the harik, artillery or light-infantry, the captains of fluch troops or com.
               panies reijeatively, lall immediately certify the fame to the captain of the
               ba,, from which fuch volunteer (hall inlift. That each regiment fhall be
               provided with ilateand regimental colours, at the expence of the feld officers,
               and each company with. a drum and fife, at the expence of its commiflioned
                   r tla t,, r,,.. officers. That all the militia of the flate hall rendezvous
               VMS liui i-La, a four times in every year, for the purpofe of training, difci.:'
                Mr.                 plining a,.d improving inmartial exercifes, twice by compa-
                                   nies within their beats, once by regiments, and once by
               loi
                    tAltered,_      t. brigades; the time and place of rendezvous for the com.
                              ..    panies to be appointed
                                                       by the colonel or commuding officer
              of the regiment, and arranged on different da i, that the field and flaflofficers
              may have an opportunity of attending the feveral companies exercifed inde-
              tail, in order to introduce uniformity in the manceuvres and difcipline of the
              regiment. That each commanding officer of a regiment (hall appoint a
              regimental parade at rome convenient place, as nearly central as may be,
              within the diflri& of his regiment; and each brigadier-general (hall appoint
              a brigade parade at rome convenient place within the diftrid of his brigade,
              a; nezrly central as may be ; at which brigade parade fuch brigade (hall ren-
              dezvoits on fuch days as the commander in chief lhall appoint by general
              order.; and which days flall be fo arranged, that the adjutant-geticral may
              be cnal-cd to vifit and review them at their refpedtive brigade parades. That
              there 1hail be: an adjutant-general of the militia, whore duty Malil he to diflrl.
              bute all orders froi the comnander in chiefto the feveral corps, and Conce
              in every year review the brigades; to attend the refpeclive brigades on their
               refpet~ve parades; and the regiment of infantry, and companiei of artillery
               an cavalrsy, during the time aftheir being under arns, puf'fuant to this at;
               and 1all inrpe& their arms, ammunition, accoutrements and rlothng ;
               fitpciin:end their exerciks and nanwauvrc$, and introduce a fflcni of mIII*.
               tnv'y d's]i, thr'oughout the (latu, agreeable to        ui .s      ,
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            €o       LAWS or,.NEW-YORK, MnthSefflon:
           from time to time, receive* from the commander Inchief; to furnilh blai*
           forms of dflerent returns that ma be required, and explain the principlcsoll
           which they i"all be made; that ivithin three weeksafter he fball have finiflh,
           ed his annual review, be thall   deliver to the commander in chief, a return of
           211 the militia of the fate, reporting the aaual fituation of the arms, accou-
           trements and ammunition of the feveral corps, their delinquencies, and every
           other thing which in his judgment may relate to their police, and the gene-
           ral advancement of good order and. military difclpline; that he ihall have
           the rank of lieutenant-colonel, and fhall be allowed, as a fil compenfation
           for all the ferviccs he isrequired to perform by this a4, at and after the rate of
           two hundred and fify pounds for every year. That to every brigade there
           Iliall be an infpedor, to rank as major, whoe duty Itfhall be to attend the
           regimental parades, and fliall then and there itnfpit their arms, ammunitlon,
           accoutrements and clothing ; fuperintend their exercifes and manaeuvres, and
           introduce a proper fyflem of military difcipline throughout his brigade,
           Pgreeable to fIch orders as he may, from time to time, receive from the
                              adjutant-general. That at the annual brigade rendezvous,
            11.it.infantry earn.
           .2116a,at h,annual the light-infantry companies of the regiments compofinig
           into aeql,,.,, the brigades, fliall be formed into a regiment, to be com-
                 At.r.. manded by fuch field officers as the commanding officer of
                                the brigade Ihall appoint for that fervice. That when fo
           embodied, they fliall continue together at leaft four days, and perform fuch
           inanaeuvres and evolutions, under the dre&ion of the adjutant-general, as he
           fbail aflign them. That the artillery company and troop ofhorfe belonging
           to each brigade, flhall, during fitch fervice, be attached to and remain with
           the regiment of light-infantry, and be fubjed to the orders of the command.
           ing olficer thereof. That every regimental commiflioned officer fhall report
           his acceptance of his appointment, within ten days from his receiving notice
           thereof, to the commanding officer of the regiment, who fhall, in like man-
           ner, within ten (lays, make return thereof to his brigadier. The commiffion!
           .ed officers of cavalry and artillery flall    alfo notify the acceptance of their
           appointments, within ten days afler they have received notice, to their cap.
           lains, and the captains flntll make fimilar returns to their brigadiers within teq
             Gencratco:,rt-inar. days. That a general court-martial [ball confifl of thirteen
            thiu.                coiifloned officers, who thall appoint their own judge-
           advocate ; which judge-advocate fihall tender to each mnember, and eac4
           member ishereby enjoined to take the following oath:'
            Y    OU              do fwear, That you will, well and truly try and determine,
                   according to evidence, the matter now depending between the people
           of the flate  of New-York, and the prifoner or prifoners to be tried ; and you
            do further fwear, That you will not divulge the fentince of the court, until
           tihe .ame Ihall   be approved of, purfiant to this adt; neither will you, upon
           any account, at any time whatfoever, difclofe or difcover the vote or opin-
           ion of any pa.tictlhr menber of the court-martial, unlefs required to give
           evidence
            God. thereof by a court of julice, in a due courfe of law. So help yoq
             .And the prefldent is hereby authoried to tender to the judge-advocate,
            who ishereby enjoined to take the following oath:
            Y  OT          do wear, That you will not, upon any account; at any time
                whaifoever, diuliole or difcover the vote or opinion of any particular
             meber of the court-marial, unets. required to give evidence thereof as a
            in
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                        .G P R         ,B   C L IN T 0 N,           Etq. Co'ernd&r.          2r
                 Ottnera, by acourt of juffice, in a due courre of law; and that you will not
                 divulge the fentence of tis court, until the fame hall be approved, purfuant
                 to this ad. So help you God.
                COMui.oned steers That every commiffioned officer who (hall be convided
                'Wheln CMtIAd how by a general court-martial, of having reftfed or negleited
                  obe puallhed.    to perform any of the duties of his office, {hall be punifhed
                according to the nature and degree of his ofince, at the difcretion of the fhid
                court, either by fine or removal from his office. Provided, No fine fhall ex-
                teed ten pounds for the firfl offience, or fifty pounds for any fub! quent of-
                 fence ; which fine fhall be levied and colle&d by warrant under the hand
                 and feal of the commanding officer of the brigade, dire6ted to any ferjeant
                 of the regiment to which fuch officer, on whom fuch fine is impofed, nay
                 belong, inlike manner as the fines herein after mentioned to be recovered of
                 non-commillioned officers and privates, fbr negle&t or refifil of duty. That
                the commanding officer of a brigade may order courts-martial for the trial
              of ofnces.within his brigade; the members of which fhall be warned fior
             that duty by the brigade-major, who is to keep a roller fbr that purpoti.
               Ihat the proceedings and lentence ofevery court-martial, by which any of-
              ficer (hall be removed from office, flhallandbe in  writing, fhal,      the the
                                                                             lignedby by      prei -
                                                                                           prelien:,
              dent thereof; and that all proceedings           fntences
             be delivered to dhe commanding officer of the brigade, to be by him tran:-
            - mitted to the commander in chief, who lall approve or ditapprove of the
              fame in orders; and that all other proceedings and lfntences of brigad.
              courts-martial, Ihall be delivered by the precident thereof to the comm:nd-
             ing officer of the brigade, who flali approve or dilapprove of the fame ia
                (2nurtrnartial sir orders. That a court-martial for the trial of general oli-
              te tr,,i gcran  rur- cers, fhall be ordered by the commander inictiie and coin-
              gkreIand coaduacd. poled of general and held officers, who iall be waned to
              that duty by the adjutant-general, from a roller to be by him kept for that
            * purpofe. That the proceedings and Jintences of lihch courts fiiall be tranf-
              mitted by the prefidents thereof, to the commander in chief, who 1hail con-
              firm or dirapprove of the fame in general ordors. Provided, That no Jei-
              tence of a court-martial on a general officer, (hall go farther than removal
              fromoffice. That all fentences ofcourts-matial, by which any ,ficer (hall
              be removed, and which (hall be approved by the commander in chief, hlll,
              by him, from time to time, be laid before the council of appointment, to th..
              end that the peribn adminilring the government of this flate for the time be-
              ing, by and with their advice and confentr, may appoint others intlead of the
              officers fo removed from office. rhat every non-commiiiioned officer or
              private, who (hall negle&t to appear when warned in purftuance of 1hi aet,
              without fufficient excu(e, (hall, for every day he negledts to appear at the
              brig-ade rendezvous, foifeit the rum of twenty llfiliin-s, and (hall, for every
              day he negles to appear at the regimental or company parades, fori'it the
               um of eight ihillings; and if he (hall not be armed and equipped accordin.g
              to the diretfions of this a&, when i appearing, without fufficient excul, he
              (hall, for every deficiency, forfeit the tiam (;f one (hilling ; and appearing
                CmAtn,,,o,, be without a mtutket, the fImm of four fiiilng,. That the coi.
              nuub.rudund     ficers millions to be granted to offictrs of time miiia, flhall be
                t,,3ruch mnIuhtr, numbered ; and the officers of the thme grade' (hall take
              V, take ranlk accrd.tl

                    laltch9r.        t rank according to the numbers marked on ther relbec-
              ,Iudta       ,. rci. tive commniflions ; and when officers of difMrent corps Mall
                meet on duty, the rank of officers of the like grade hal W decrnrm tl           by
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              :3h        -LAW S o" NEW-YORK, NlnthSefrjoa.
              ballot, by the commanding officer of the whole then prefent. That one
                 No brIi.-aa regi. brigade, regiment, or company of foot (except the light-in-
              r tyt orcu.tpuy0, - falntry companies herein before mentioned) fhal not becon-
              tided t rai.              iidered as older, or having rank or prefrence of the other;
              but each brigade, regiment, or company, iball be potled in the line, or on
              counand, as the commanding oflicer (hail think proper. That .al'fincs arl,-
              in from otlances in a company only, fliall be adjudged of, and impored by
              the commilioned officers of the iaid company, or the major part of them
              and all fines to arife from ollinces on calling out the regiment or brigade, with
              refpeel: to the non-commitfiuned officers and privates, flhall 6e adjudged and
              infliaed by the major part of the field officers of the regiment, and thall be
              levied, with cofls, nut exceeding three lbillings, by warrant from the coloncl
              or commanding officer of the regiment, or captain, or cumniaading oi:er
              of the company, as the cali may be, dire-d to one or more ferjcants, by
              dillrei and Cale of the goods and chattels of the otTnders refpeaively. And
              in cafe any fitch defaulter (ball be under age, and live with his fAther or mo-
              ther, or (hall be then an apprentice or ibrvant, the mailer or millre's, or lather
              or mother, as the cafe may be, fliall be liable to pay the faid fine, with coils;
              aid in default of payment, the failt ferjeant (hall levy the faime upon the
              goods and chattles of fuch father or mother, or mailer or mitirefs ; fuch
                  T ie pa i 1         ,t fines, when recovered, to be paid by the ferjeant or fvijeants,
                        Alter.,    'a. to the officer granting fuch warrant, whofe duty itfball be
                ,ah fitviri.t. )p.c.1. to account fbr, and pay the fame to the commanding ofi-
                                        ce.r of the brigade; and fuch commanding oflicer (hail pay
                   Cirof New-Y, rk the fame into the treaffiry of this flate. That the city and
               ts Mife 41uipi~ aza
               %if  artillery.           county of New-York (ihall raile one regiment ofart:lcry, to
                                        conhlft ofas many companies at the commandcr in chif (hall
              judge necefriry, not to exceed four ; which companies Ihall conlilof the
               fame number of officers, non-commillioned officers, and matrol~s, as the ar-
               tillery, companies herein bfurc mentioned. That fuli regimi.nt of artillery
               fliall have three field officers, (hall be armed and accoutred in the fame man-
               ner as the other artilIery companies mentioned in this at, until further pro-
               vifion i3made therein by law, and (hall be called out to exeicii , by orders
               from trecommander in cifief, at leati fiu times in every year, and be lubje6t to
               the fame fines and penakies is are infliiul by this ad for the negle& or rfufal
               to do duty, or being deficient in any arms or equipments.
                                            i1. Alhdbo it /!rhwer ci:a- d b, t,'ie atthorly ef#~refid,
                 Cne'           incl'., That the commander in chief fbr the time being, may, in
                 ,ay,,rlerouttlmi caf of invation or other emergency, when he fhalljudge
               Itt,.&, g                 it nucelitry, order out any proportion of the militia of the
                flate, to march to any part thereof, and continue as long as he may think
                neceffary; and likewhb may, in confrquence of an application from the
                executive of any of the United States, on an invafion, or an apprehenion
                of an invalion of fich flate, at h! difcretion, order any number of the mili-
                tia, not exceeding one third part thereof, to fuch Iate. Provided, That they
               he not compelled to continue on duty out of this ilate .mre than ferty days
                at any one time : That while in adltual Iervice, in contiiquence of being Co
                called out, they (hall receive the Lune pay and rations, and be fubie to th
               fame rules and reguhtlion, as the troops of the United States of America.
                                     Ill. zlad le ii f'r,/Icr euacdl, the ,;lnh/rif) , al/i-rdtfid,
                C-An rtarate.     That the lictenant-governor, "members and officers of
              Ca auty.            conre: , and their fervan s not chizens of this flite, menr-
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                      ,'OE O.R'GE CLt                  ONT0 N,.Er-q. Governor.           23i
            S'ersrd fehate
                         h and affembly, thecleiks offente and affemblythe chanceflor,
            1chlef.jufike and other julfices of the fupreme court, jutdge of the court of
               probates, and all other judicial officers, fecretry,, treafurer, attorney-gene-
               ral and auditor of this flatei. furveyor-general, regiflefs of courts, (hitfli,
              'coroners and gaolers, two'ferrymen employed to each boat, and.. e furro-
             ..gat6 in the feveral counties, All mlnifters or preachers of the gofpil, phyfi.
               clans and furgeons, except in their refpeive profefliong and callings, the
               profeflors, tutors and fludents of Columbia college, poft-officers, and flage.
              drivers who are employed in conveying the mails of the pofl-office of the
               United States, all fchool-imafters engaged for fix    months, the aaual attend-
              ant of every grill-mill, and the fire-men of the cities of New-York and Alba-
              ny, and of the townlulp of Brooklyn; and twenty fire-men, to be from
               time to time appointed by the majority of the maglilrates of the county.of
              Alban,, reliding in the townihip. of Scheneaady, notwithifanding their
              being above fixteeh and under forty-five ycars of age, hall be, "andlreby
              'are exempted from training or doing duty in the militia.
                                    IV.,bAid be t .iirherenaedby the htulhodl a rcfad,
                ."rz~ai~n~f~a6f That ill perfons, being Of the people called'Quakers, who
             ' m6J* I "c would ot'lrwife be filjed't to military'duty, by virtue ofthis
                                 ad, and Who (hall refufe perfofial nililitary fervice, f(all be
              exempted thererron, oi praying annuilly the fim Of forty billings each for
              fuch exemption ;fuch fruto be afteifed oneach of then refpe~1ively by the
             'affeTfrrs, and colleded by the 'oWledors of the difiris wherein they refpcc-
              tively refide, with the contingent charges of tie county, and pi.ld to the
              county treafurer, who (hall pay the fame into the treaiury of,this Iltte, to be
             •pplied towards the ftpport of government ; and it is hereb' 'Made the duty
             bf evei captain of infantry, within three months after he ball have receiv-
              W
              td his commiflion, and yearly and every year thereafter, on the lirfl Monday
              ofJunein every Yea'r, to make a lift of the names of all and every perfon and
             perfons within his beat, who being of the people called Quakecs, (hall negle&
              or refufe perfonall.y to perform military fervice, and delivei fuch liii, in the d:-
             ly of NeW-York, to the clerk of the laid city, and ineath of the othercoun-
             ties ofthis late, 'to the rupervifor of thetown, precIndl or diflridr   where frch
              perfon 0r"perfons fo negledtintg or iefufing to perform military fervice, ihill
              lefpeflively refide. And the clerk of the lid tity of New-York (ball forth-
              with, after receiving fuch lifts, deliver the fame to the mayor,'ald.i'fien 11c!
             Commoialty of the fid city, inconuon councitconvened. And the mhay..
             ore   rcorder and aldermen of the city of New-York, or ally three of them'
             in the hfid city, aid the fuipervifors, or major part of them, of each of the
             bther c0lnties of thisflate, relively, (hall, at their firit ineeting after tht.
             delivery of fuich lifis, caure tax-lifs to be made out, icording to fitch lifts fo
             delivered, with warrafits thereon, indr their hlahds and feals, diredd to tho
             colleetor of the Ward, to~ai, precifidl or diftxrli in which fuch perfons nam-
             ed in fich lifts, refpedively refide, for levying the film of forty (billings, of
             the goods and c&attels of each of the perrons named in the fame lifts. Anct
             the faid colleaors are hereby itepedively authorifed and required to de-&.
             innd a'nd rceive of each of tile perfons naned infuich tax-lift, the faid fuin
             bf forty (hillings ; and hi 'default of payment, fitch colledlor (hall levy the
             faid urm of fotity fillings, by diftrefs and fale of the goods and chattels of the
             jieifoq fo beglicaing or refuting to pay the fame; Wtnd       iii car any perfou
             hamed in fich tax-i1l ('alll  be under age, and live with his father gg i~otllrs-
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              i 34'       L"AW S oF .NSEW'Y O'RK, NithSeflion.
                hilbe then an apprenticeor '1irvnh the maier orinflrei, orfatheror mo-
               ther as the cae may.be, hall be liable to payrhe faid fum.of forty' bihllings, for
               fuch .perfon fo under age; and Indefault ofpayment, the colleAor [hali       1evy
               the fame by dlflrefs, andthe file of the-goods and chAttels of fuch father ;6r
               mother, niafler or mifirefs.; and the faid rerpetve colletors fhall ref'peilve-
               lypa the  Ifaid monies to the city or county treafurer, deduding their fees for
              -colhAng, on or before the flrft Monday in January in every year ; -and the
              coiniy ltreafurers (hal refpeaively pay the Ikme to the treafurer of this flate,
               dedu6lng his fes for receiving the fame, on or before the firfl Monday, In
              March inevery year. And the colle.&ors and county treafurers Ihall           have
              the like fbes.for colle~ing and receiving the faid monles, as they are refpec-
             'rively entitled to for coUeing and receivlng the monies raifed for defi-aying
              tle neceflaryand contingent charges of the laid city.or counties.
               Althe th I' bn of disual ireimele, I'tiifi. C11.
                                                             97- Dc. 4. and the 4th. ythand    ions
                                                                                              Ahl
                                             are threby becornc obrne5te.]

                  IX. A d be.it fiiaii'er endl7ed bIy   the aulhoijydafrefWd, That the com-
              mander in chief hail, from time to time, arrange the militia in two divifions,
               as nearly equal as circumRilances in his opinion will admit of
                              . X. And whereas from the great extent of the counties of
                   hoib       , W.alh;ngton and Montgomery, fome of the Inhabitants
              ganey who ive n. would, be fibjed to great expence and difficulty, If they
                Inv'e
                   30milesiR"n Vnte
              renimental ad b. were obliged to attend at regimental and brigade parades;
                         1n"s
                           ,1*=  tIlerittherefire enaged I,the attlhoiy afrejido That it
                                1:u
                                  (hall and may be lawful for the refp~e~ive commanding of-
              ficers of the militia in each of the faid counties, to exempt fuch perfons from
              attending regimental and Lrigade parades, as f1-all live at a greater difatice
              than thirty miles from fut:h parades aibrefid.
                  XL.And whcreas, from the Inrular lituatlon ofthe county of'R lchmond,.
              it will be attended with much inconvenience and expence, if'the mlhitia
              thereof fhould be compelled, for the purpofe of improving in military difei-
              plinie, to attach themielves to the Militia of any other county: Therefore,
               btt In        o. le it f
                         R .....
                        .t.a                    r e,,ihdriby thec aalhori, af)rejid, That tihe
              tube lonrd into one militia of the fiid county of Richmond, (hail be formcd
              regiment,          Into one regimient, to confill of as many companies as the
              commander in chief flall       judge neceffary ; which regiment (hall meet four
              times Inthe year, in the manner, and during'the periods which tile        other mi-
              litia of this flateare direcdd to meet; but fluch regiment (hall be infpeded fit
                And confllec as the faid county, by'fuch iufpeaor of the militia of the city
                   'I,.fihe
                         utimdor and cointy of New-Y ork, as the commander in chief fihall
             oew..York,            dir, adltall be a-,tached to, and confidered as part oF
              the militia of the city and county of New-York, and be fubje& to the hir.
             mediate command of the liinior brigadier of the faid city and county, as part
             of his brigade.
                  XI[. ,Adbe it   fiarteretawedy I/hc authorily af!rcflA, That Ifa fufficient
             number of volunteers (hall not oTier them~felves to compo tile              infantry
             companies of any regiment, it hall ahfi may be lawfal, from time to time.
             when a deficiency in the compliment of any fich company ihall              arif, to
             and for tile   field officers of the regiment to caufie a lift to be made, of all the
             young men enrolled in the difhidt of fuch reghent, above the age of fixteen,
             and under the age of twventy-fix years, and who (ball not already have i-
             liflud inthe fid infantry comniaes, and fhall, by lot, determine which of
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                   G:,E O I G.E .CLI NT O N, Efq. Governor..                           23
           thefiddyoung-men Iiall be compelled to attach themfelves- to the (aid corm-
           pahI6 of lnI             ".ry.
                              * XHII A41d b t faiierernaedly the authority aforfAkd,
           _. ..A ixThat it Ihall and maybe lawful.toand for any major-genc-a
           ortnvallm.        "ral, or commanding officer of a brlgade, or commanding
           officer of a regiment, wlien, and, as often as any invalion may happen, to.
           or4pr out the mliltia under their refpedlive commands, for the defence of this
           flate,' givlng: notice of fuch. invalion. and every circumflance. attnding the
           famej ps earlyas poffible, to their Immediate commanding officer, by whom
           fuch Information Ihall be tranfmitred, with the utmofi eredition, to the,
            otk dp.71. &;-commander in chief. And.thatin cafes bf iniurrttions, the
           Oflal(re,tlo, . commanding officer of the regiment within the limits of
           which any. fuch nfurredlion may happen, fhali immediately aflemble his
           regiment under arms, and having tranfinitted information thereof to the
           commanding officer. of the brigade, and to the commander iachief, fhall
           proceed to take fuch ineafures to fupprefi fuch inturr eion, as to any three
           of the judges orjulllces of the county inwhich ich inflrr1ion hall happen,
             PWrfund~ihlbd infhall appear moR proper and efidhtul. And Ifany petrfon
           OrT1,R9 allyilv, be wounded, or,dilabled while in a ual fervice, in oppoling
           P'widd fir at te anyinvafion.or.lnfurrelion, or in fupprefltig the amie, he
               1=Cc        ,pe.
                              lhail betaken. care of,and provided for at the public expence,
           wfitout havirig any regardto the rank fuch pvrfdn may hold.
              XIV. Ad be itfurther cnared 1D, the auw/ori)t, afoiihi; That It [hill.
           and-may be lawful for the perfon adminifihing the government of the flar.
           for, tie time-being, by and. with the advice and conflint of the council of
           appointment, to appoint a commiffary of military. lores, who fiall be al-
           lowed at and after the rate of forty pounds per annum; and fuch commilla-
           ry thall have the charge and keeping of ordinance and, military flores of the-
           flate, fubjd ,to fuch orders and inttrriftons In the execution of his duty, as
           he lhall receive from the commander in chief.
                               XV. And be itfirter eoa.'ed byt the autri ,Ifurfid.
             c,,,ni      ,n.That every non.commlilioned officer and private, who fliall
                          neg. negled or refufe to obey the orders of his fuiperior officer
           and privatei for
           c-'e le,.°rr,while under arms, (hal forfeit twenty fhiilings for every.
                              fuch of nce; and if any fch non-commfiunt:4 officer or"
           private enrolled, to ferve in either of the companies of artillery, cavalry or
           infantry, lhall refue or negle& to perform fuch military duty or exerciii as
           he fhall be required to perfbrm, or fhall    depart from his colours or guard
           without die permiffion of his fuperior officer as aforcidd, he firiU forfeit the
           ftu, of twenty flillings; and fbr the hon-payment thereof, the ofibnder
           flall be committed, by warrantfrom the captain or comnimnding officer of the
           rroop orcohipany then prefentto which fuch ofender doth belong, to the next
           gaol,there to be confined until the fines as aforefaid,togedler wItlithe gaoler's
           1es, are paid; and the refpedlive flieritfi of the rerpcetive cities anilconks.
           ofthe flae, are hereby emnpowerdd and required to receive the body or b6-
           dies of fich offiender or offenders, as tMail be brought to them by virtue of a
           warrant or warrants under the hand and feal of fuch officer as aforelhid, and
           hin or them to keep Infaki     cullody, until fuch fines as are mentioned in Ih
           warrant, together with the gaoler s feds as aforefiaid, iall be paid; mid the
           fherif9i and gaolers refpcdtively ihall be allowed the fain. fec3 as are allowed.
           in other cafes. Provided, That in cafe of a military gu-ri, where a captain.
           duth not command in perfon, a warrantgranted by n imiiri-r officer, wita
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                        £A W             'oF NEW:W-YO                      ,     ghth Seillon,
              l havethe command offch guard, (ball be of the fame author"ty.agan
             all offenders, as if fuch warrant had been iffuedby fuch captain,
                 1XVI.          h kfrthiretiWidby l/lt authorily eforefaid,That the military'
                              bzd
             iniform of this flate ball be as follows; That Is to fay,
                                                                                                 collars and
                  General Officers ; 'Dark blue coats with buff facings, linings,
             cuffs,and yellow buttons, with buff under-clothes.                               white Inigs.
                  Regimental officers of Infantry;. Darkblue coats with                 under-clothes.,    :"
             facings, collars-and cuffs, and white            buttons,  with   white
                                           officers   and    privates   of  infantry;     Dark blue coats
                   Non-commiflongd
              wvith white linings, collars and cuffs, and whiteunder-clothes.. and yellow
                   Staff officers; Dark blue coats with buffcollaxs and linings,
             buttons.
                   ProvIded, That none of the non.commiffioned officers and privatesof the
                                                                                                   companies.
              tegiments of militia, except thofe compofing the llght-Infantry                    uniform, in,
              dirkeded to be formed by this at, (hall be obliged to appear in
              mannei aforefald.
                   ormecrmtentg That    XVIL, ,idba itfurterenalfcdb                 tkcauthoriyafuor'faid.
                              dt-.           all perfons who have heretofore been States,      commifliohe4
              o         c
                                                             of the  army    of the  United           (ball be,
                 2.       S          officers  In the  line
                   ei od-re .h.9. and hereby are exempted from
                                                                              ferving in the militia of this.
                                              any Provided neverthelefs, contrary
                                                    thing  in       ad
                                                               this--   to  the              hereofnotwith-
               21Zhiefl.ch45. cC3z.. Rate;
                                       anding.                                    That i any uch officer,.
               being above the age of lixteen, and not more than which           forty-five years, fall be
                                                                       to  that           he held in the flaid
               comm dlioned in the militia to a rank equal
               army, and ball refufe to           accept    fuch   comlmi    lion.  fuch  9fficer. fo Xefufing,
               thall be liable to ferve In the militia..                          aforefaid, That the com-
                   .•XVIIL Wd be itfarther enatied by t/i athorily           the  pafling of this ad, take.
                mander in chief Nall, as loon           as may    be  after
                                                                                      the age, rank and refi-
                fuch meafures as to him hall feem proper, to obtain
                dence of all officers who heretofore            have  ferved   In  the   militia of this late,,
                       the   number   of  men    between     the  age  of  ixtven   and forty-five, diredled
                iand                                                                       this flate are here-
                to be enrolled by this act; and all execuiveofficerswithiflfitch dlrelions rela-_
                by flri6ly enjoined and required to carry             Into  execution
                                                                                      from time to time, give
                tive to the premifes, as the commander in chief may,
                 and en         .         XX. ,indit befisrther enailedy th/ a111ori . aforefaid,.
                 * ronner milaas That all other laws               of this late for regulating the militia
                repeaed.                   ,       (ball be, and hereby are repealed. Provided al-.
                                                                                  the militia, pafned the 4 th.
                 'ways, That the ad, entitled, An ad to regulate and effect in the different
                  of April, 1782, ihall       coninue      to  be  in full force
                                                                           counties (ball be arranged ai4
                  counties of this late, until the militia of fitchlaw, and no longer.
                  officered agreeable to tle dlre1ons of this

                                         C H A P. XXVII.
                                                      againll -eirs, Deriifc., Executor: and*
                'in A C T for the Relief of Creditore
                                             /br         lifi refpeiug real EI#ate.
                           di~ratrs,     and     proriig
                                                                  Pafied 4th April, 1786.
                                                   eOlafjew-lork,'repreJ    tcd iftnat and
                      . i cna...d by t e-,oph.of                                       'r-.t,
                   .                              e
                                b&, a47d I., is herby       iia,7d In..jhcrat/orhi (f f/ne flume,
